         Case 2:19-mj-03014-DUTY Document 1 Filed 07/24/19 Page 1 of 1 Page ID #:1

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                                                                                          ~~~ J r j ~v f


                                     UNITED STATES DISTRICT COURT                    i           - --- - ~~
                                    CENTRAL DISTRICT OF CALIFOR~TI~
                                                                                         J~       O
                                                               CASE NUMBER
                 ~.s


                             V.
                                                 PLAINTIFFS)             ~~'l9'~~~-3J~'
 ~ry~~~~ ~~                       ~~ vQl~p ~~
                                                                             AFFIDAVIT RE
                                           DEFENDANT(S).               OUT-OF-DISTRICT WARRANT

                                                      ~l~e J+~1/c)✓N/

The above-named defendant was charged by: ~S> i'/~'9i~r~Tt ~~G(h~ U~/~il)                 ~~[A~~~
in the     ~~,5~°~"t~             District of    1/ ~I^° ^ ~                on             7- /~-'~0~~
at ~ •"~         ❑ a.m./ p.m. The offense was alleged committed on or about               20/ - h~/~L ~d~7
in violation of Title   ~-- ~                    U.S.C., Sections)     ~/ ,               ~/fD
to wit:        ~S r

A warrant for defendant's arrest was issued by:

Bond of$                               was Qset /~ recommended.

Type of Bond:

Relevant documents)on hand (attach):



I swear that the foregoing is true and correct




                                                                 -S~~ ~~c
               of Agent                                        Print Name of Agent
 ~~_
Agency
                                                                   S ~~~1 ~ ~
                                                               Title


CR-52(05/98)                          AFFIDAVIT RE OUT-OF-DISTRICT WARRANT
